      Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 1 of 40




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
___________________________________

UNITED STATES OF AMERICA,         :

vs.                               :           S1 19 Cr. 373 (PGG)

MICHAEL AVENATTI,                 :

            Defendant.            :
_________________________________




             DEFENDANT AVENATTI’S POST-TRIAL MOTIONS
               AND MEMORANDUM OF LAW IN SUPPORT


                                  Scott A. Srebnick
                                  SCOTT A. SREBNICK, P.A.
                                  201 South Biscayne Boulevard
                                  Suite 1210
                                  Miami, FL 33131
                                  Telephone: (305) 285-9019
                                  Facsimile: (305) 377-9937
                                  E-Mail: Scott@srebnicklaw.com
       Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 2 of 40




                                        TABLE OF CONTENTS

I.       BACKGROUND ......................................................................................................1

II.      MOTION FOR JUDGMENT OF ACQUITTAL ...................................................21

         A. There was Insufficient Evidence that Mr. Avenatti Acted “Wrongfully”
            and with “Intent to Defraud” ...........................................................................22

         B. The Statutes of Conviction are Vague-as-Applied ...........................................25

III.     MOTION FOR NEW TRIAL ................................................................................30

         A. The Court Improperly Excluded Text Messages and E-mails .........................30

         B. The Court Abused its Discretion in its Response to a Jury Note .....................34

IV.      CONCLUSION ......................................................................................................38
        Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 3 of 40




       Defendant Michael Avenatti, through counsel, and pursuant to Fed.R.Crim.P. 29(c) and

33, respectfully moves the Court for a judgment of acquittal on all counts or, in the alternative,

for a new trial.

           I.      BACKGROUND

       The grand jury charged Mr. Avenatti in a Superseding Indictment with a substantive

violation of 18 U.S.C. §875(d) (Count One) and attempted extortion under §1951 (Count Two).

The essence of those charges was that Mr. Avenatti allegedly engaged in a scheme to extort

Nike by threatening to damage Nike’s reputation and property and cause Nike economic harm

if Nike did not agree to make multi-million-dollar payments to Mr. Avenatti while Mr.

Avenatti was representing Coach Gary Franklin. (Dkt. No. 72:4-16).

       Title 18, United States Code, Section 875(d) provides that

       Whoever, with intent to extort from any person, firm, association, or
       corporation, any money or other thing of value, transmits in interstate or foreign
       commerce any communication containing any threat to injure the property or
       reputation of the addressee or of another … shall be fined under this title or
       imprisoned not more than two years, or both.

Title 18, United States Code, Section 1951(a) provides that

       Whoever in any way or degree obstructs, delays, or affects commerce or the
       movement of any article or commodity in commerce, by robbery or extortion or
       attempts or conspires so to do, … shall be fined under this title or imprisoned
       not more than twenty years, or both.

(Emphasis added). The grand jury also charged Mr. Avenatti in a third count with honest

services wire fraud under 18 U.S.C. §§1343 and 1346. The essence of that charge was that

Mr. Avenatti allegedly defrauded Coach Franklin of his intangible right to Mr. Avenatti’s

honest services, by seeking payment for himself based on confidential information provided

by Coach Franklin, without Coach Franklin’s knowledge or approval. (Dkt. No. 72:17).
        Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 4 of 40




       Prior to trial, Mr. Avenatti moved to dismiss all three counts on various grounds,

including that the statutes were vague as applied to Mr. Avenatti. (Dkt Nos. 28, 29, 34, 35,

74, 75). The Court denied the pretrial motions to dismiss. (Dkt. Nos. 120, 129, 146).

       Jury trial commenced on January 27, 2020. The evidence1 showed that, in or about

2006, Nike began to sponsor the California Supreme, a basketball travel team of elite high

school age players coached by Gary Franklin, Sr. By 2010, Nike had created the Elite Youth

Basketball League (“EYBL”), an organized league of travel teams for the top high school

players, featuring more than 40 teams from around the country, including the California

Supreme, with whom Nike executed sponsorship contracts. (GX 305). California Supreme

attracted many talented players, including Deandre Ayton, Bol, and Brandon McCoy.

       Carlton Debose was the Director of Nike Elite Youth Basketball (“EYB”) and Jamal

James was the Manager of Nike EYB. (GX311:4). In 2016-17, Nike executives Debose and

James pressured Coach Franklin to engage in a pattern of misconduct. (Tr.1622-28). Among

other things, they directed Coach Franklin to make multiple payments for the benefit of

amateur players. (GX312; Tr.1622-28). They directed Coach Franklin to submit false invoices

to Nike to disguise the payments as travel expenses and sponsorships. (GX312; Tr.1749, 1759).

They successfully pressured him to allow two other individuals (Bol Bol’s handler Mel

McDonald and a California lawyer named Bryan Freedman) to take over the California

Supreme “17U” team. (GX311:25-27; Tr.1627-34). Freedman’s goal was to ensure that his

own son would be able to play on a top 17U Elite EYB team alongside Bol Bol. (GX311:25-




1
 The Court is obviously very familiar with the evidence in the case, having sat through the trial
and ruled on many issues throughout. Thus, this recitation of the evidence does not purport to
summarize all of the evidence in the case.



                                               2
        Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 5 of 40




27; Tr.1629-34).2 By 2018, DeBose and James had squeezed Coach Franklin out of his

contract involving his 17U team and informed Coach Franklin that they would not renew the

contract for any of the California Supreme teams for the following season. (Tr.1629-34).

       Beginning in February 2018, after suffering considerable damage to his brand and

reputation as the leader of California Supreme, Coach Franklin solicited advice from Jeffrey

Auerbach, the Managing Director of Bedford Consulting and an entertainment industry

consultant with considerable prior experience in professional sports management. (GX 301:2-

4; Tr.1634). By then, the USAO-SDNY had brought a criminal case against several Adidas

executives in connection with a scheme to bribe high school basketball players to attend and

play for universities that had contracts with Adidas. (E.g., Tr.349, 1654, 1707, GX601).

Moreover, the USAO-SDNY had served a grand jury subpoena on Nike EYBL in September

2017, in connection with that investigation, seeking production of documents related to

payments to amateur players. (DX OO).

       Over the course of the next year – long before they first approached Mr. Avenatti to get

involved in early March 2019 – Mr. Auerbach and Coach Franklin strategized how to hold

Nike and its executives accountable for the corruption so that the Nike executives could not

harm any other coaches. (E.g., Tr.717, 914-15, 1072). Mr. Auerbach, on behalf of and in

conjunction with Coach Franklin, began to compile substantial evidence related to Nike’s

misconduct. They discussed contacting John Slusher, the number two executive at Nike, to




2
  According to Coach Franklin, between approximately 2014 and 2016, attorney Freedman made
multiple offers of payment (totaling more than $100,000) to Coach Franklin for Freedman’s son
to start on California Supreme’s 16U and 17U elite teams. (GX 311:25-27). Coach Franklin
rejected those offers, so Freedman enlisted the assistance of the Nike executives to pressure Coach
Franklin and help wrest control of the 17U team from him. (Tr.1630-32).



                                                3
       Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 6 of 40




arrange a meeting to report the misconduct and seek restitution and justice from Nike. (E.g.,

Tr.1638-39).   They prepared a Memorandum of Actions outlining the misconduct and

assembled other documents relevant to Coach Franklin’s grievance.           (GX312).    They

communicated by text and e-mail on a regular basis, almost daily during some months, and

had lengthy phone conversations.      (Tr.1638-39).   They contemplated retaining counsel,

approaching the FBI to report Nike’s extortionate conduct, and/or suing Nike. Mr. Auerbach

reviewed the civil racketeering lawsuit that had been filed by a basketball player named Brian

Bowen against Adidas and the individuals who had been criminally charged and convicted in

the Adidas scandal. See Bowen v. Adidas America, Inc., et al, Case No. 3:18-cv-03118-JFA

(D.S.C. Nov. 19, 2018) (Tr.778-79, GX306).

       In January 2019, Coach Franklin sent an e-mail/letter to attorney Trent Copeland to get

advice regarding his dispute with Nike. (Tr.952-54, Tr.1683-89). In the letter, Coach Franklin

told Mr. Copeland that he, Coach Franklin, wanted to inform Nike’s senior management of

excessive corporate corruption, that the corruption was perpetrated by Nike EYB executives

in 2016-17, and that he wanted to demand that Nike immediately terminate the executives

involved and report the wrongdoings to the FBI. (Tr.1684-85). Coach Franklin also told Mr.

Copeland that Coach Franklin wanted Nike to clean up and reorganize Nike EYB and

grassroots basketball and commit to installing new management and procedures to best prevent

this abuse and criminal activity from happening in the future. (Tr.1685-86). Coach Franklin

told Mr. Copeland that he, Coach Franklin, wanted Nike to commit to full financial restitution

to California Supreme and pay for all of his legal and other related expenses in this matter.

(Tr.1686). Coach Franklin told Mr. Copeland that he, Coach Franklin, would seek justice by

immediately going to the FBI if Nike did not promptly agree to his demands. Coach Franklin



                                              4
       Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 7 of 40




told Mr. Copeland that Mr. Auerbach was ready to call the number two guy at Nike (John

Slusher). (Tr.1688).

       On or about February 6, 2019 – after a year of proposing to contact John Slusher -- Mr.

Auerbach finally called Slusher and prepared a memorandum of his conversation. (GX 304:6).

Among other things, Mr. Auerbach told Slusher that:

   • Coach Franklin “endured workplace bullying and abuse for over 2 years” by
     Nike executives DeBose and James;

   • “There was ongoing corruption and illicit schemes being carried out by DeBose
     and James and how they brought this corruption into California Supreme,
     directing Gary to submit fake invoices, make cash and bank-wire payments to
     handlers and family members of top Nike elite players … similar to those in the
     recent DOJ-Adidas case;

   • Coach Franklin had “suffered a great deal and his program severely harmed by
     the corruption, the abuse and the aftermath,”

   • Coach Franklin “now wants Justice. In addition, he’s always been loyal to Nike
     and wants to help the company clean-up EYB, get rid of the corruption and
     corrupt execs.”

   • “Justice” for Coach Franklin meant “firing DeBose and James … for starters.”

(GX304:6) (emphasis added). Despite Mr. Auerbach’s request that Slusher meet with Coach

Franklin, Slusher instead referred them to Nike’s outside counsel at Boies Schiller Flexner

(“BSF”) for “[a]ny additional conversation.” (GX304:3).

       After Slusher referred Mr. Auerbach and Coach Franklin to the BSF lawyers, Mr.

Auerbach began sending videos to Coach Franklin of Mr. Avenatti appearing on television and

holding press conferences, suggesting that the high-profile nature of the case might be of

interest to an attorney like Mr. Avenatti. (Tr.904-08). Recognizing the expense of retaining

an attorney on an hourly basis, Auerbach told Coach Franklin that:




                                              5
       Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 8 of 40




                                         *   *   *




(DX FF-1; DX FF-1A).

       On March 1, 2019, Mr. Auerbach contacted Mr. Avenatti for the first time; they spoke

for approximately twenty minutes and, based on that conversation, Mr. Auerbach later e-

mailed Mr. Avenatti that he (Avenatti) was “a source of hope for me – in a time of much

despair” and “look[ed] forward to further discussing Gary Franklin, Found/Program Director

of California Supreme Youth Basketball v. Nike Elite Youth Basketball & Nike, Inc.” (GX301).

On March 4, 2019, Mr. Avenatti contacted his colleague, attorney Mark Geragos, a criminal

defense lawyer with decades of experience. (GX103A). Mr. Geragos had a relationship with




                                             6
        Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 9 of 40




Nike’s General Counsel as a result of Geragos’s recent representation of a high-profile NFL

football player. Mr. Avenatti and Mr. Geragos agreed to work together on behalf of Coach

Franklin and approach Nike’s General Counsel to discuss a pre-lawsuit settlement of Coach

Franklin’s claims. (E.g., GX103C).

       On March 5, 2019, Mr. Avenatti met with Mr. Auerbach and Coach Franklin for the

first time. During that meeting, Coach Franklin and Mr. Auerbach told Mr. Avenatti about the

history of mistreatment of Coach Franklin at the hands of Nike EYB executives DeBose and

James, that Coach Franklin was pressured into making payments to players families and

submitting false invoices to Nike, and that DeBose and James took control over Coach

Franklin’s elite 17 and under team. (Tr.728-29; Tr.1622-28, 1782). Mr. Auerbach told Mr.

Avenatti at the meeting that Nike had engaged in racketeering and corporate bullying, and that

he wanted Nike to “self-report” to the authorities. (Tr.1750-51). Mr. Auerbach and Coach

Franklin also described Coach Franklin’s goals to achieve justice, which to Coach Franklin

meant “ridding Nike EYB of the bad actors, meaning Carlton and Jamal, so nobody else got

harmed, financial compensation for Gary for the brand and his club and his program and what

he has – his losses, and working with Nike to report this to the authorities was very important

to him, and then assisting them in any way in helping, you know, change the situation again

so nobody could be bullied and abused like this.” (Tr.1072); see also (Tr.717) (Auerbach:

“Gary wanted to advise the company what had gone on and rid the company of what we called

the bad operators in Nike EYBL executives, Carlton DeBose and Jamal James, and stop them

from doing this with other people.”).

       On March 12, 2019, Mr. Geragos initiated communication with Casey Kaplan, Nike’s

Assistant General Counsel for Litigation and Internal Investigations for the purpose of setting



                                              7
       Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 10 of 40




up a “confidential mediation discussion.” (GX206). Mr. Avenatti texted Mr. Geragos a link

to an article entitled “The Mounting Costs of Internal Investigations.” (GX103B).

       On March 18, 2019, Mr. Avenatti again met with Coach Franklin and Mr. Auerbach.

Prior to that meeting, Mr. Auerbach emailed the following documents to Mr. Avenatti: a) the

Memorandum of Actions (GX308); b) a copy of the “Memo to the File” summarizing

Auerbach’s telephone conversation with Nike executive Slusher (GX304:6); c) a file-stamped

copy of the civil RICO complaint filed against Adidas in the District of South Carolina, which

included claims for money damages and injunctive relief, (GX306); d) a number of media

articles about the Adidas case and the NCAA investigation (GX307), and e) the California

Supreme travel team contracts. (GX305). Moreover, at the meeting, Mr. Auerbach and Coach

Franklin provided Mr. Avenatti with a 28-page PowerPoint presentation, captioned Gary

Franklin, California Supreme Elite Youth Basketball v. Nike USA, Inc., Nike, Inc., Nike EYB,

that they had prepared regarding their claims against Nike. (GX311). One of the slides of the

PowerPoint presentation posed the following three questions:




                                              8
       Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 11 of 40




(GX311:5).

       Mr. Avenatti told Coach Franklin and Mr. Auerbach that he had a meeting set up for

the following day with Nike’s lawyers in New York. Mr. Avenatti told Coach Franklin that

he (Mr. Avenatti) did not believe he could get Coach Franklin’s contract reinstated; instead,

Mr. Avenatti told Coach Franklin that he would try to achieve three goals: 1) get Nike

executives DeBose and James fired; 2) obtain a monetary settlement of $1 million for Coach

Franklin; and 3) obtain whistleblower protection for Coach Franklin. (Tr.1758-59). Mr.

Avenatti did not promise he would seek reinstatement of Coach Franklin’s contract, and Coach

Franklin never insisted to Mr. Avenatti that he seek reinstatement. Mr. Auerbach estimated

that the reasonable value of Coach Franklin’s claim was $1 million, (Tr.967), and Coach

Franklin would have been satisfied with such a monetary settlement. (Tr.1765).

       According to both Mr. Auerbach and Coach Franklin, Mr. Avenatti never mentioned in

either of the two in-person meetings (March 5 & 18) or in their telephone conferences (March




                                             9
       Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 12 of 40




19 & 21) that Mr. Avenatti would: 1) demand that Nike hire and pay him to conduct an internal

investigation; 2) hold or threaten to hold a press conference; or 3) file a lawsuit. (Tr.745-46;

797-98, 801-808; 1552-68). Those matters were never discussed. (Id.). However, neither

Mr. Auerbach nor Coach Franklin specifically told Mr. Avenatti that they did not want

publicity, an internal investigation, or a lawsuit. Both of them testified that they communicated

with each other about Coach Franklin’s potential lawsuit (Tr.945, 971, 1004, 1720-22, 1737-

38), and Auerbach acknowledged that a lawsuit would have been filed down the road if the

case did not settle. (Tr.945).

       Regardless, Coach Franklin and Mr. Auerbach agreed with each other to allow the first

round of negotiations to “play out” Mr. Avenatti’s way, meaning, according to Mr. Auerbach,

to “let [Mr. Avenatti” deal with it the way he sees fit to get Gary’s goals and accomplish his

goals.” (Tr.1008-09; see also Tr.1766). Moreover, Coach Franklin acknowledged telling Mr.

Auerbach that he would rather obtain a higher monetary settlement than have his contract

reinstated. (Tr.1765).3

       The first in-person meeting between Mr. Avenatti and Mr. Geragos and Nike’s lawyers

was held on March 19, 2019, at Mr. Geragos’s law office in Manhattan. The attorneys present

at that first meeting, which was not recorded, included both Mr. Avenatti and Mr. Geragos,

attorneys Scott Wilson and Ben Homes from BSF, and Rob Leinwand, an attorney at Nike

with the title Vice President of Global Litigation and Employment Counsel. BSF attorney

Homes took handwritten notes at the meeting; he thereafter prepared typewritten notes of the




3
  Mr. Auerbach acknowledged that neither the e-mail/letter to attorney Copeland nor the
memorandum of his conversation with Slusher mentions anything about reinstatement. (Tr.950-
54). In fact, Mr. Auerbach did not recall even asking Slusher for reinstatement. (Tr.950-51).



                                               10
       Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 13 of 40




same meeting. (Tr.401). At that meeting, Mr. Avenatti informed Nike’s counsel that he

represented Coach Franklin, a whistleblower who was directed to make multiple payments for

the benefit of amateur players and was then squeezed out of his contract by Nike. (Tr.211-12,

1470-71). Mr. Avenatti told Nike’s counsel that Coach Franklin had claims for breach of

contract, tortious interference, and potentially other claims. (Tr.419). Mr. Avenatti allowed

Nike’s counsel to review the documentary evidence that he had brought to the meeting in

support of Coach Franklin’s legal claims, including but not limited to the bank statements,

false invoices, and text messages. (Tr.253).

       Mr. Avenatti proposed a settlement with two components: a) that Nike pay $1.5 million

to Coach Franklin for damages caused to him, understanding that the money would not

preclude Coach Franklin from giving testimony to the government; and b) that Nike retain Mr.

Avenatti and Mr. Geragos to conduct an internal investigation of Nike. (Tr.267). Mr. Avenatti

stated that he would hold a press conference and publicize the allegations regarding the bribing

of amateur players by Nike employees if Nike did not meet those conditions. (Tr.244). At

that March 19, 2019, meeting, none of the Nike lawyers denied that Nike EYB was fraught

with misconduct and, indeed, BSF attorney Wilson professed to have an interest in conducting

an internal investigation surrounding the allegations. (Tr.249, 415).

       Immediately after the March 19, 2019, meeting, in the face of evidence of a government

investigation of its own client Nike, BSF attorneys contacted the USAO-SDNY prosecutors

overseeing the investigation of Nike. (Tr.271-72). Thereafter, over the course of the next two

days, BSF attorney Scott Wilson, at the behest of the FBI, audio-recorded several telephone

conversations with Mr. Geragos and one with Mr. Avenatti, on March 20, 2019, and also

video-recorded an in-person meeting on March 21, 2019, again at Mr. Geragos’ law office.



                                               11
        Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 14 of 40




       The court has listened to the recordings. They do not need to be summarized in detail

because the recordings speak for themselves and because Mr. Avenatti does not challenge the

sufficiency of evidence that: 1) he demanded, as part of a settlement, that he and Mr. Geragos

be retained to lead an internal investigation of Nike; 2) he threatened to hold a press conference

if a settlement was not reached; and 3) he told Nike’s lawyers that public revelation of Nike’s

misconduct would wipe billions of dollars off Nike’s market cap.4

       Rather, the principal dispute at trial concerned the elements of “wrongfulness” and

“intent to defraud,” that is whether Mr. Avenatti believed he was authorized by virtue of his

representation of Coach Franklin to demand that Nike hire and pay him to conduct an internal

investigation of Nike. The government claimed that Mr. Avenatti was acting for his own

benefit and, therefore, his demand for money for himself in connection with Coach Franklin’s

claim against Nike constituted both extortion and honest services fraud. Mr. Avenatti, by

contrast, contended that he believed his demand to conduct an internal investigation and be

paid for it by Nike was in furtherance of Coach Franklin’s overall objective of seeking justice

from Nike and holding its executives accountable.

       This dispute permeated the trial and, as explained below, affected all three counts.5

Both Mr. Auerbach and Coach Franklin testified in sum and substance that: 1) Coach Franklin

wanted diplomacy, not war, with Nike; 2) Coach Franklin’s primary goal was simply to have


4
 These post-trial motions are focused on the issues relating to whether Mr. Avenatti believed he
was authorized by Coach Franklin to demand to be retained by Nike to conduct an internal
investigation. Thus, the contents of the recordings are largely irrelevant to the issues in this motion.

5 There were many objections and issues raised before and at trial that were (and remain) preserved
for appellate review. In this post-trial motion, Mr. Avenatti does not seek to re-litigate all, or even
most, of them. Rather, Mr. Avenatti will focus on a few select issues regarding his state of mind
that impact both his post-trial motions for judgment of acquittal and for a new trial.




                                                  12
       Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 15 of 40




his contract reinstated, not to sue Nike or cause Nike any problems; 3) Coach Franklin did not

want his allegations to be made public; and 4) Coach Franklin did not want an internal

investigation of Nike. (E.g., Tr.712-17, 730, 9091, 915, 962, 1534, 1543-44, 1575). Mr.

Auerbach testified that Mr. Avenatti never discussed with him demanding that Nike hire Mr.

Avenatti to conduct an internal investigation. (Tr.1072-73).

       But the relevant inquiry is what they told Mr. Avenatti about Coach Franklin’s goals

and what Mr. Avenatti understood and believed about Coach Franklin’s objectives. In that

regard, there was no evidence that either Coach Franklin or Mr. Auerbach ever told Mr.

Avenatti, prior to March 19-21, that they did not want an internal investigation to be led by

Mr. Avenatti or a press conference exposing Nike’s misconduct. Mr. Avenatti sought to

demonstrate at trial that an internal investigation and publicity were squarely within Coach

Franklin’s objectives, as Mr. Avenatti understood them. To that end, on cross-examination of

Coach Franklin and Mr. Auerbach, Mr. Avenatti sought to question them about, and introduce

in evidence, multiple electronic communications between Mr. Auerbach and Coach Franklin

(and between them and attorney Copeland and Nike executives DeBose and James) that shed

light on Coach Franklin’s mindset and stated objectives over the entire year immediately

before Coach Franklin retained Mr. Avenatti. (See generally Tr.881-1053, Tr.1639-1770; see

also Dkt. No. 253). Although the Court allowed Mr. Avenatti’s counsel to question Mr.

Auerbach and Coach Franklin generally about their recollection of the written electronic

communications with each other and with others, the Court denied admission of the vast




                                              13
       Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 16 of 40




majority of those written communications, with few exceptions.6 The Court also admonished

defense counsel to not question witnesses about whether their communications with each other

were “by way of text.” (E.g., Tr.956, 960). The Court accepted the government’s argument

that, because Mr. Avenatti was not copied on the text and e-mail messages, they could be used

only to impeach Coach Franklin and Mr. Auerbach as inconsistent statements or refresh their

recollection about the communications contained within the messages. (E.g., Tr.1386-1392).

The Court reasoned that the text messages would be cumulative of the witnesses’ testimony

about the communications; the Court rejected the defense arguments that the written

communications themselves were admissible as substantive evidence of the witnesses’ state of

mind under Fed.R.Evid. 803(3) and as the “best evidence” of their recollection under

Fed.R.Evid. 1002. (E.g., Tr.921-927, 956, 987-997, 1386-92; Dkt. Nos. 243, 253).

       Thus, witnesses were limited to testifying about their (imperfect) recollection of text

messages and e-mails from many months earlier, and the defense was relegated to refreshing

their recollection of the text messages and e-mails; the jury was not permitted to actually see

the vast majority of those written messages. As to the four text messages that were admitted

(DX FF-1, FF-1A, FF-911, and MM-02), the Court instructed the jury that it could consider

them only for purposes of the state of mind of Coach Franklin and Mr. Auerbach. (Tr.2312).

       Those excluded written communications evinced Coach Franklin’s desire to root out

corruption at Nike, hold Nike executives accountable, file a lawsuit against Nike corporate,


6
 The admitted text messages were DX FF-1, FF-1A, FF-911, and MM-02. The excluded text
messages and e-mails were DX FF-02, FF-07, FF-611, FF-613, FF-623, FF-633, FF-638, FF-647,
FF-713, FF-741, FF-777, FF-886, FF-915, FF-926, FF-962, GG-2, GG-25778, MM-03, MM-04,
MM-05, BBB, and EEE. (See Dkt. No. 253). The Court agreed to file the excluded exhibits
under seal so that they could be a part of the record for appeal. (Tr.1925-27). It appears (based
on the timing of the filing) that Dkt. No. 260 contains the excluded defense exhibits under seal.



                                               14
      Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 17 of 40




and publicly expose Nike’s misconduct. For example, in the excluded e-mail from Coach

Franklin to attorney Copeland on January 8, 2019, summarized above, Coach Franklin wrote:




(DX GG-2) (excluded). In other excluded text messages and e-mails, Coach Franklin and Mr.

Auerbach discussed:



                                           15
       Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 18 of 40




    • “nail[ing] these corrupt EYBL execs, send them packing!” (DX FF611);

    • wanting “’justice’ above all else” and “turning to Nike first, in an effort to
      expose the illicit acts and behavior bestowed on you and your program by these
      certain rogue Nike EYBL executives, with the hope Nike Corporate will do the
      right thing and swiftly take action, investigate and fire these rogue Nike EYBL
      executives, who have no place in youth and amateur basketball. If not, your
      plan is to go directly to the FBI within the next 5-10 days to expose everything
      that’s transpired and seek the justice you deserve and stop further corruption and
      harm to others…” (DX FF 613).

    • That, in October 2018, it would be a “good time to call Slusher” because there
      would be “some press” while they were picking jurors in the Adidas case being
      prosecuted by the USAO-SDNY. (DX FF-638).

    • That Nike executive Nico Harrison would be included in the “got to go” list they
      would present to Slusher because Harrison “clearly can’t have oversight or
      involvement in a reconfigured Nike EYBL.” (DX FF-741).

    • That they would “giv[e] Slusher and Nike an opportunity to right their wrong,
      have a say in how this plays out, and control the outcome, timing and message
      … Something they don’t deserve and will have to earn.” (DX FF-777).

    • That they would “go to John Slusher and Nike to report these criminals, liars
      and the widespread, ongoing, corruption and abuse taking place at Nike EYB
      … tell John your whole story, show him proof, relay your demand for justice
      and willingness to fall on the sword to get it, and ask for his/Nike’s help – in
      return for your cooperation and their ability to control the process.” (DX FF-
      886).

    • That Coach Franklin had a “much better civil racketeering case than” Brian
      Bowen. (DX FF-915).7

    • That Coach Franklin’s “claim (and any potential suit) is against Nike & Nike
      EYB – not against Carlton, Jamal, etc.,” (DX FF-962), and that Coach
      Franklin’s “case and claim against Nike is not criminal but civil.” (DX FF-07).

    • That they “need[ed] to move quickly” because once Nike executives “see
      Avenatti (or anyone good at this point) with what evidence you have, they will
      get nervous, and settle.” (DX FF-926).


7 In an excluded email, Mr. Auerbach sent Coach Franklin a copy of the “Racketeering complaint
and suit against Adidas by Bowen.” (DX GG25778).




                                              16
       Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 19 of 40




   • That they “[g]ot to go after Nike.” (DX FF-02).

   • That Coach Franklin and Mr. Auerbach were pointing “heavy artillery” toward
     Slusher. (DX MM-03).

   • That Coach Franklin and Mr. Auerbach wanted to “drop the hammer on this
     MTF!” (DX MM-04).

   • That Coach Franklin “would much rather take the bigger settlement” than being
     reinstated and continue with Nike. (DX MM-03).

   • That Coach Franklin and Mr. Auerbach agreed that they should “let [Mr.
     Avenatti’s] first round of discussions play out his way. We can always visit this
     prior to the next round of talks.” (DX MM-03).

       At the close of the government’s case, and again at the close of all the evidence, Mr.

Avenatti moved for a judgment of acquittal on all three counts; the Court reserved ruling.

(Tr.1902-1917, 2127).     On February 11, 2020, the government and defense gave their

summations.

       On February 12, 2020, the Court instructed the jury. Among other instructions on

Counts 1 and 2, the Court instructed the jury as follows:

       In order to conclude that Mr. Avenatti acted wrongfully, you must find that the
       government has proven beyond a reasonable doubt either that (1) in demanding
       that he be hired and paid to conduct an internal investigation, Avenatti
       understood that he was acting in furtherance of his own interests, and was not
       pursuing Franklin's objectives; or [(2)] Avenatti's threat of harm and demand
       that he be hired and paid to perform an internal investigation had no nexus to
       any claim of Franklin's that Avenatti reasonably believed he had been authorized
       by Franklin to pursue. As you can see from how these issues are posed, they do
       not turn on the precise amount of money that Mr. Avenatti was demanding to
       perform the internal investigation.

(Tr.2329-30). Among other instructions on Count 3, the Court instructed the jury on good

faith as follows:

       Since an essential element of the honest services wire fraud charge is an intent
       to defraud, it follows that good faith on the part of Mr. Avenatti is a complete
       defense to this charge. Accordingly, if you find that Mr. Avenatti honestly



                                              17
       Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 20 of 40




       believed that Mr. Franklin authorized him to demand that Nike hire him and pay
       him millions of dollars to conduct an internal investigation of Nike, then Mr.
       Avenatti acted in good faith and he did not have a specific intent to defraud.
       Moreover, the government, and not Mr. Avenatti, bears the burden of proof on
       this issue. Mr. Avenatti has no burden to prove his good faith. The burden is
       instead on the government to prove beyond a reasonable doubt that Mr. Avenatti
       acted with fraudulent intent, and did not act in good faith.

(Tr.2343-44).

       On February 12, 2020, toward the end of the first day of their deliberations, the jury

demonstrated that they were laser-focused on the text messages when they asked the following

question (among a few others):

       “Were text messages in evidence only for state of mind?”

(Court Exh. 2) (Tr.2388) (emphasis added). The following day, February 13, 2020, the Court

answered the question as follows:

              So I’m going to list for you now the text message exhibits that were
       received for state of mind. They are as follows:

              Government Exhibit 308, Government Exhibit 310, Government Exhibit
       312, Defense Exhibit D1, Defense Exhibit D3, Defense Exhibit D4, Defense
       Exhibit D6, Defense Exhibit FF-1, Defense Exhibit FF-1A, Defense Exhibit FF-
       911, Defense Exhibit I-2, Defense Exhibit MM-2.

              So all of those exhibits were received for purposes of state of mind.
       There are no limitations as to other text messages that were received in evidence;
       they can be considered by you for any purpose.

             I’m going to reread to you now the instruction in my charge about
       evidence that was received for a limited purpose.

               From time to time during the trial, I you [sic] told you that certain
       evidence could be considered only for a limited purpose. Where I gave you such
       an instruction, you may consider that evidence only for the purpose I identified.
       Many exhibits were admitted for purposes of Mr. Avenatti’s state of mind.
       Statements and allegations contained in these exhibits cannot be relied on for
       their truth but only to the extent they shed light on Mr. Avenatti’s state of mind,
       what he was thinking and what he understood at the time.




                                               18
       Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 21 of 40




              I’ll give you some examples. This is not an exhaustive list. During Mr.
       Auerbach’s testimony, I instructed you that Government Exhibit 312, Mr.
       Auerbach’s Memorandum of Actions, was admitted only to the extent that it
       sheds light on Mr. Avenatti’s state of mind. Government Exhibit 312 was not
       admitted for the truth of any of the allegations contained in the memorandum.

              Other examples of the text messages between Franklin and Auerbach
       that were admitted as DX FF-1, DX FF-1A and MM-2, these exhibits were
       admitted to the extent they shed light on Auerbach’s and/or Franklin’s state of
       mind, because their state of mind could have affected what they communicated
       to Avenatti and thus affected his state of mind. You should be aware that
       statements, information, thoughts and desires never communicated to or
       reviewed by Mr. Avenatti could not have affected his statement of mind.

(Tr.2388-2389). At 4:23 pm on February 13, 2020, the Court announced that it had received

another note from the jury which, among other things, posed the following question:

       Can we draw inferences from state-of-mind documents, or only exhibits
       admitted for evidence?

(Tr.2391-2393) (Court Exh. 4). The Court initially proposed that it tell the jury that “with

respect to exhibits received only as to state of mind, you can consider them only to the extent

you find that they shed light on state of mind, as I have explained on … pages 10 to 11 of the

instructions. As for exhibits that were received, or were admitted into evidence, with no

limitation, you can consider them for all purposes.” (Tr.2398).

       Defense counsel objected to this proposed response, asking the Court to instead instruct

the jury as follows: “Yes, you may draw inferences from state-of-mind documents, and you

may draw inferences from exhibits admitted into evidence.” (Tr.2398-99). The Court stated

that defense counsel was “clearly wrong” and that the jury needed to know that they cannot

“rely on state-of mind exhibits for their truth, so I have to get at that distinction.” (Tr.2399).

Defense counsel explained their concern that “the jury may be asking whether they may infer,

for example, from the fact that Auerbach and Franklin shared with each other certain text




                                               19
        Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 22 of 40




messages, may they infer, logically, reasonably, that Auerbach and Franklin shared that with

Mr. Avenatti?” (Tr.2399). The Court rejected a simple “yes” answer because the jury “cannot

rely on state-of-mind documents as to their truth.” (Tr.2400). Given that it was already 5pm,

and in view of the “critical importance” of the issue to Mr. Avenatti, defense counsel asked

the Court to allow counsel to research the issue overnight and answer the question for the jury

in the morning. (Tr.2404-05). Defense counsel stressed that “[w]e’re not looking for the jury

to draw an inference as to truth from any state-of-mind exhibits. We’re looking for the jury to

draw an inference that certain states of mind were communicated to Mr. Avenatti.” (Tr.2406).

The Court overruled the request that the response be postponed until the following morning.

(Tr.2406). Thus, over defense objection, the Court answered question 1.B in Court Exhibit 4

as follows:

        You can draw inferences from exhibits that were admitted to demonstrate state
        of mind, but only as to state of mind. Exhibits received without any limitation
        may be considered by you for all purposes, including for their truth. But where
        I admitted an exhibit for purposes of demonstrating state of mind, that exhibit
        can only be considered for purposes of state of mind, and not for the truth of the
        statements that were made in that exhibit. This area is discussed in pages 10
        and 11 of the instructions. So there is an instruction number 8 that says,
        “Evidence Received for a Limited Purpose.” So that’s the instruction that
        addresses, among other things, state-of-mind evidence. I’m going to read that
        to you in just a minute.

        And then the next instruction is “Direct and Circumstantial Evidence,” and that
        is the instruction that addresses, among other things, the drawing of inferences
        from certain facts. So I’m going to read that to you again also.

(Tr.2408). The Court then proceeded to re-read the jury instructions contained at pages 10-11

of the Court’s instructions. (Tr.2408-11). The jury did not deliberate further on February 13,

2020.




                                               20
       Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 23 of 40




       Before the jury resumed its deliberations the following morning of February 14, 2020,

defense counsel filed a letter requesting that the Court further instruct the jury as follows in

response to question 1.B in Court Exhibit 4:

       I instruct you that from state of mind documents, you may draw inferences,
       including an inference that the person who made the statement thereafter acted
       in accordance with the stated intent.

(Dkt. No. 264:2). Defense counsel argued that the jury should be permitted to draw the

inference from a “state of mind” document that the declarant then acted upon the state of mind.

(Dkt. No. 264:1) (citing United States v. Best, 219 F.3d 192, 198 (2d Cir. 2000)). That is, the

jury could infer from the text messages between Mr. Auerbach and Coach Franklin that, for

example, Mr. Auerbach did in fact communicate to Mr. Avenatti that they (Franklin and

Auerbach) wanted Avenatti to “really light the next fuse (Racketeering) in the Sneaker

Company Scandal, and answer a BIG question which Nike will not want asked, “WHY

HASN’T THE DOJ INDICT EXECS AT NIKE WHO COMMITTED THE SAME

CRIMES?!! WHY JUST ADIDAS?! There’s a lot at play here for a guy like Avenatti…”

       The district court declined to further instruct the jury as requested by defense counsel.

Later that afternoon, on February 14, 2020, the jury returned a verdict of guilty on all counts.

           II.    MOTION FOR JUDGMENT OF ACQUITTAL

       “A defendant challenging the sufficiency of the evidence bears a heavy burden, because

the reviewing court is required to draw all permissible inferences in favor of the government

and resolve all issues of credibility in favor of the jury verdict.” United States v. Kozeny, 667

F.3d 122, 139 (2d Cir. 2011). A conviction must stand if “any rational trier of fact could have

found the essential elements of the crime beyond a reasonable doubt.” Id.




                                               21
       Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 24 of 40




       A. There was Insufficient Evidence that Mr. Avenatti Acted
          “Wrongfully” and with “Intent to Defraud”

       The evidence was insufficient to prove that Mr. Avenatti acted “wrongfully” under

Counts 1 and 2 by demanding that he be hired and paid by Nike to conduct an internal

investigation. The evidence was likewise insufficient to prove that Mr. Avenatti acted with

the “intent to defraud” Coach Franklin by making the same demand of Nike. As the Court

instructed the jury, the inquiry as to all three counts was basically the same: whether Mr.

Avenatti understood that he was not pursuing Coach Franklin’s objectives (Counts 1-2) and

honestly believed he was acting without authority from Coach Franklin. (Tr.2329-30, 2343-

44).

       The evidence was uncontroverted that Coach Franklin wanted to root out corruption so

that what happened to him would not happen to other coaches. Coach Franklin and his advisor,

Jeffrey Auerbach, told Mr. Avenatti that Nike had engaged in racketeering and corporate

bullying and that they wanted Nike to self-report. The memorandum of the February 6, 2019,

conversation between Mr. Auerbach and Nike executive John Slusher, which Mr. Auerbach

provided to Mr. Avenatti, made it clear that Coach Franklin wanted justice, which meant to

“help the company clean-up EYB, get rid of the corruption and corrupt execs.” (GX304:6).

Moreover, the PowerPoint presentation (GX311) posed three – and only three – questions,

which any lawyer would reasonably understand could be answered only through an internal

investigation.

       Regarding how these objectives might be accomplished, Mr. Avenatti knew that Nike

had been served with a federal grand jury subpoena by the USAO-SDNY in 2017. Yet,

notwithstanding the corruption of amateur athletics by Nike executives DeBose and James,




                                            22
       Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 25 of 40




they were still employed by Nike nearly two years later. The evidence suggested that Mr.

Avenatti believed that BSF was not capable of conducting an independent investigation, and

Coach Franklin did not have the power to force Nike to terminate DeBose and James, nor the

money to conduct his own investigation of Nike EYBL. Neither Mr. Auerbach nor Coach

Franklin placed any restrictions on how Mr. Avenatti might seek to achieve those objectives.

To the contrary, Coach Franklin and Mr. Auerbach agreed that they would allow the first round

of negotiations play out Mr. Avenatti’s way. Thus, Mr. Avenatti demanded that he be retained

to conduct the internal investigation.

       The government presented insufficient evidence that Mr. Avenatti believed that he was

exceeding the authority granted to him by Coach Franklin by demanding that he, Mr. Avenatti,

be retained by Nike to conduct an internal investigation. To be sure, it was reasonable for a

lawyer in Mr. Avenatti’s shoes to believe that an internal investigation was a necessary

prerequisite to the ultimate firing of DeBose and James. Ironically, Mr. Avenatti could have

been faulted for not pursuing such a remedy. The dual components of Mr. Avenatti’s

settlement demand in the first round of negotiations -- an internal investigation of Nike and

$1.5 million for Coach Franklin – was consistent with, and in furtherance of, the goals and

objectives articulated by Coach Franklin.     Importantly, Mr. Avenatti never signed any

settlement agreement without Coach Franklin’s approval and never did anything to impair

Coach Franklin’s substantive rights; any settlement would have required Coach Franklin’s

signature. (GX205).




                                             23
       Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 26 of 40




       In deciding whether Mr. Avenatti honestly believed he was acting within the scope of

his authority as Coach Franklin’s lawyer, the jury considered the following instruction from

the Court on the allocation of authority between lawyer and client.8

       Under California law, it is the client who defines the objectives of the
       representation and not the lawyer. A lawyer cannot act without the client's
       authorization, and a lawyer may not take over decision-making for a client,
       unless the client has authorized the lawyer to do so. A lawyer must abide by a
       client's decisions concerning the objectives of the representation and shall
       reasonably consult with the client as to the means by which the objectives are
       to be pursued. Subject to requirements of client confidentiality, a lawyer may
       take such actions on behalf of the client as is impliedly authorized to carry out
       the representation. The client has the ultimate authority to determine the
       purposes to be served by the legal representation, however, within the limits
       imposed by law and the lawyer's professional obligations. A lawyer retained to
       represent a client is authorized to act on behalf of the client, such as in
       procedural matters and in making certain tactical decisions. A lawyer is not
       authorized merely by virtue of the lawyer's retention to impair the client's
       substantive rights or the client's claim itself.

(Tr.2338). Under this standard, it is clear that Mr. Avenatti took such actions as were

“impliedly authorized to carry out the representation.” The evidence was insufficient to prove

the contrary.

       The convictions on Counts 1 and 2 cannot be saved on the theory that “Avenatti's threat

of harm and demand that he be hired and paid to perform an internal investigation had no nexus

to any claim of Franklin's that Avenatti reasonably believed he had been authorized by Franklin

to pursue.” (Tr.2329-2330). The government did not even argue a lack of nexus in its

summation. Plainly, Mr. Avenatti’s threat and demand to conduct an internal investigation

had a nexus to Coach Franklin’s claim. This case did not even remotely involve a situation

like the “marital infidelity” example used by the Court in its instructions. (Tr.2328).


8
 Mr. Avenatti objected to any instructions regarding the California Rules of Professional Conduct.
The Court overruled that objection.



                                               24
        Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 27 of 40




       In sum, the evidence was insufficient to prove that Mr. Avenatti acted “wrongfully” or

with “intent to defraud” Coach Franklin. Accordingly, the Court should grant a judgment of

acquittal on all three counts.

       B. The Statutes of Conviction are Vague-as-Applied

       That the jury’s determination of Mr. Avenatti’s guilt on all three counts turned on their

application of the California Rules of Professional Conduct on the allocation of authority

underscores the vagueness of this prosecution. Mr. Avenatti was not on notice that the

negotiating tactics he employed during confidential settlement negotiations – which were

designed to further Coach Franklin’s stated objectives of obtaining monetary relief and justice

– could expose him to criminal prosecution under the extortion and honest services wire fraud

statutes.

       A criminal statute “must ‘define the criminal offense with sufficient definiteness that

ordinary people can understand what conduct is prohibited and in a manner that does not

encourage arbitrary and discriminatory enforcement.’” United States v. Rahman, 189 F.3d 88,

116 (2d Cir. 1999) (quoting Kolender v. Lawson, 461 U.S. 352, 357 (1983)). The “statute must

give notice of the forbidden conduct and set boundaries to prosecutorial discretion.” United

States v. Brunshtein, 344 F.3d 91, 98 (2d Cir. 2003). When analyzing a vagueness challenge,

“[a] court must first determine whether the statute gives the person or ordinary intelligence a

reasonable opportunity to know what is prohibited and then consider whether the law provides

explicit standards for those who apply it.” United States v. Strauss, 999 F.2d 692, 697 (2d Cir.

1993). A “void for vagueness “ challenge “does not necessarily mean that the statute could

not be applied in some cases but rather that, as applied to the conduct at issue in the criminal

case, a reasonable person would not have notice that the conduct was unlawful and there are



                                              25
       Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 28 of 40




no explicit standards to determine that the specific conduct was unlawful.” United States v.

Sattar, 272 F.Supp.2d 348, 357 (S.D.N.Y. 2003).

       Prior to trial, Mr. Avenatti moved to dismiss all three counts because the extortion and

honest services statutes were vague as applied to his conduct. (Dkt. No. 35:21-22; Dkt. No.

75:16). The Court denied the motions as premature. (Dkt. No. 120:17-18; Dkt. No. 129:19-

20). Now that a factual record has been developed, the Court should grant the motions and

acquit Mr. Avenatti under Fed.R.Crim.P. 29.

       “The Hobbs Act does not define ‘wrongful;’ instead, courts have been left to determine

on a case-by-case basis whether the Hobbs Act extends to the conduct at issue.” United States

v. Albertson, 971 F.Supp. 837, 842-43 (D.Del. 1997). Because the crime of extortion may be

committed in multiple ways (violence, force, economic fear, color of official right), courts

have had occasion to consider, and grapple with, the element of “wrongfulness” in various

contexts.   In the classic extortion case, involving threatened force or violence, the

“wrongfulness” element is easy to analyze and apply because the law is clear that it is

inherently wrongful to threaten force or violence as a means of collecting payment, even

payment to which one might be entitled. See, e.g., Barbaro v. United States, No. 04-Cv-1500

(TPG), 2005 WL 991908, *3 (S.D.N.Y. Apr. 27, 2005) (“Physical injury and violence are

inherently wrongful and to threaten or use them in order to obtain property is what is made

criminal under the Hobbs Act.”); see also United States v. Jackson, 180 F.3d 55, 69 (2d Cir.

1999) (noting that under the Hobbs Act definition of extortion, “the use of a threat can be

wrongful because it causes the victim to fear a harm that is itself wrongful, such as physical




                                              26
       Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 29 of 40




injury, or because the means is wrongful, such as violence.”), on reh’g, 196 F.3d 383 (2d Cir.

1999).9 After all, threats to use force and cause physical injury are mala in se.

       In the context of a charge of extortion using economic fear (§1951) or reputational

threats (§875(d)), however, the analysis becomes more complicated because “the line

separating the legitimate economic threat from the wrongful (and hence extortionate) demand

can be a fine one indeed.” Albertson, 971 F.Supp. at 843. The lack of clarity stems from the

fact that the use of economic fear or a threat to injure the reputation of another is not inherently

wrongful. United States v. Clemente, 640 F.2d 1069, 1077 (2d Cir. 1981) (“It is obvious that

the use of fear of financial injury is not inherently wrongful.”); Jackson, 180 F.3d at 70

(observing that, “as we discussed in [Clemente], a threat to cause economic loss is not

inherently wrongful”).     There is a societal danger inherent in criminalizing threats to

reputation, or the exploitation of fear, by individuals pursuing economic settlements during

settlement discussions.      For that reason, the courts have crafted exceptions to the

“wrongfulness” requirement, thereby exempting certain categories of economic fear inducing

behavior from the reach of the extortion statutes as a matter of law. See, e.g., United States v.

Pendergraft, 297 F.3d 1198, 1206 (11th Cir. 2002); Viacom Intern. Inc. v. Icahn, 747 F.Supp.

205, 213 (S.D.N.Y. 1990); Albertson, supra.

       Indeed, “the fear of economic loss is an ‘animating force of our economic system, and,

therefore, is not inherently wrongful.” Pendergraft, 297 F.3d at 1206 (citations omitted). In


9
 Even in the violence context, there is an exception for violence used in labor disputes. See United
States v. Enmons, 410 U.S. 396, 401 (1973) (holding that the “use of force to achieve legitimate
labor ends” was not punishable under the Hobbs Act to avoid the scenario where it might be
applied to “[t]he worker who threw a punch on a picket line, or the striker who deflated the tires
on his employer’s truck…”).




                                                27
       Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 30 of 40




the economic context, “[t]he law of extortion has always recognized the paradox that extortion

often criminalizes the contemporaneous performance of otherwise independently lawful acts.”

United States v. Coss, 677 F.3d 278, 285 (6th Cir. 2012). Legal scholars have unsuccessfully

“struggled to reconcile this paradox” by attempting to adduce a “principled explanation for the

distinction between lawful bargaining and criminal extortion…” Id. Thus, “the precise

contours of what does and does not constitute extortion remain undefined and often riddled

with inconsistency and circularity in a variety of criminal contexts.” Id; see also Albertson,

971 F.Supp. at 849 (“Tying the law to the facts of each case necessitates judicial line-drawing.

All can agree that the Hobbs Act has been expanded to cover conduct beyond that

contemplated by Congress in drafting the statute. The question then becomes: what is the

principled basis for drawing the line between legality and illegality? Further, is not a criminal

defendant entitled to fair warning his conduct will transgress that line?”). The difficulty in

defining the contours of “wrongful” extortion using economic fear stems from the risk that the

statute will be applied to punish hard and lawful bargaining.

       This case presents a prime example of that paradox. Every one of the acts attributed to

Mr. Avenatti in the Superseding Indictment was independently lawful and protected by the

First Amendment. He had the right to publicly expose Nike’s misconduct. He had the right

to demand from Nike a settlement of his client’s claims, as attorneys do across the country

every day. He had the right to demand a settlement on terms that may seem extraordinary to

some, as is often the case when attorneys make opening settlement demands. He had the right

to demand attorney’s fees for himself as part of the overall settlement of his client’s claims.

And, Nike had no inherent right to be free from exposure of its own misconduct.




                                               28
       Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 31 of 40




       The analysis must be informed by the principle that a criminal statute “must be strictly

construed, and any ambiguity must be resolved in favor of lenity.” United States v. Enmons,

410 U.S. 396, 411 (1973). The rule of lenity “promotes fair notice of prohibited conduct and

reduces the likelihood that unintentionally criminal conduct will be penalized.” United States

v. Kozminski, 487 U.S. 931, 952 (1988). The risk of arbitrary enforcement would be intolerable

if prosecutors were permitted to draw lines in deciding whether a settlement demand, made in

agreed-upon settlement discussions, was outside the implied authorization provided by a client

to his lawyer. The extortion statutes failed to provide clear guidance that Mr. Avenatti could

face criminal prosecution by making a settlement demand involving two components that, if

agreed to by Nike, would have fulfilled Coach Franklin’s objectives of seeking compensation

and justice.10

       Vagueness also plagues the honest services wire fraud statute as applied to Mr. Avenatti

in Count 3. That statute applies only to “paradigmatic cases of bribes and kickbacks.” Skilling

v. United States, 561 U.S. 358, 411 (2010). Based on the record developed at trial, it is clear

that this case was not a “paradigmatic” bribery case. In the wake of Skilling, Mr. Avenatti did

not have fair notice that he could be convicted of honest services wire fraud for demanding

that Nike retain him and Mr. Geragos to conduct an internal investigation to root out corruption

at Nike.




10
  Mr. Avenatti’s settlement demand of $1.5 million was 50% higher than Mr. Auerbach’s estimate
of the reasonable value of Coach Franklin’s claim. (Tr.967). The evidence showed that Coach
Franklin would have been satisfied with a monetary settlement of $1 million even without
reinstatement. (Tr.1765).



                                              29
        Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 32 of 40




           III.   MOTION FOR NEW TRIAL

        Rule 33 motions “are granted only in ‘extraordinary circumstances,’ and are committed

to the trial court’s discretion.” United States v. McCourty, 562 F.3d 458, 475 (2d Cir. 2009

(citation omitted). A trial court has “considerable discretion in determining how to respond to

communications indicating that the jury is experiencing confusion.” United States v. Parker,

903 F.2d 91, 101 (2d Cir. 1990). “[A] trial court responding to a note from a deliberating jury

is only required to answer the particular inquiries posed. The trial court enjoys considerable

discretion in construing the scope of a jury inquiry and in framing a response tailored to the

inquiry.” United States v. Rommy, 506 F.3d 108, 126 (2d Cir. 2007). The court “is not required

to reference specific arguments advanced or defenses raised by counsel in urging particular

outcomes.” Id. A supplemental charge given by the trial court must be considered “in its

context and under all the circumstances.” Lowenfield v. Phelps, 484 U.S. 231, 237 (1988)

(internal quotation marks omitted).

        A. The Court Improperly Excluded Text Messages and E-Mails

        The Court improperly excluded text messages and e-mails from evidence, thereby

depriving Mr. Avenatti of his Fifth and Sixth Amendment rights to present a defense and his

right to a fair trial. The excluded text messages and e-mails included DX FF-02, FF-07, FF-

611, FF-613, FF-623, FF-633, FF-638, FF-647, FF-713, FF-741, FF-777, FF-886, FF-915, FF-

926, FF-962, GG-2, GG-25778, MM-03, MM-04, MM-05, BBB, and EEE. (See Dkt. No.

253).

        At trial, Coach Franklin and Mr. Auerbach repeatedly testified that Coach Franklin’s

principal goal was to re-forge and re-establish Coach Franklin’s relationship with Nike.

(Tr.713, 715, 717, 730, 901, 915, 962, 1534, 1543-44). They testified that they did not want



                                              30
       Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 33 of 40




Mr. Avenatti to hold a press conference or seek publicity because that would have been

detrimental and damaging to the relationship. (Tr.713-15, 1575). They testified that the hope

was that Mr. Avenatti would be “diplomatic” with Nike. (Tr.712). They also testified that

there was no reason for Mr. Avenatti to create a sense of urgency to resolve the matter with

Nike because there was no urgency and they never discussed any urgency with Mr. Avenatti.

(Tr.744, 791, 797, 1551). Auerbach also repeatedly testified that Coach Franklin had no

problem with Nike, but rather only with DeBose and James. (E.g,. Tr.731, 794, 951, 1030).

       Their testimony at trial was belied by dozens of the text and e-mail messages,

summarized above. Those text messages showed, among other things, that they wanted to

“expose” the misconduct at Nike; that justice meant cleaning up and reorganizing Nike EYBL;

that Coach Franklin was willing “to fall on the sword to get justice;” that they wanted to take

advantage of the press surrounding the Adidas case to call Slusher; that their desire to clean

up corruption included Nico Harrison on the “got to go” list; that they were contemplating a

major civil racketeering case against Nike; that their contemplated lawsuit was against Nike

and Nike EYBL, not individually against DeBose and James; that they “need[ed] to move

quickly” so that Nike would “get nervous and settle;” that they wanted to “go after Nike,” point

“heavy artillery” toward Nike executive Slusher, “drop the hammer on this MTF;” and that

they wanted to allow the first round of negotiations play out Mr. Avenatti’s way.

       The text messages and emails were obviously relevant and the government did not

contemporaneously object to any of them on hearsay grounds. Plainly, many of the text

messages and emails were not hearsay at all, see, e.g., United States v. Rodriguez-Lopez, 565

F.3d 312, 314-15 (6th Cir. 2009 (“if the statements were questions or commands … they would

not be assertive speech at all. They would not assert a proposition that could be true or false.”),



                                                31
       Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 34 of 40




and those that were hearsay were nonetheless admissible as substantive evidence of the

declarant’s (Franklin or Auerbach) state of mind under Fed.R.Evid. 803(3). These text

messages and emails were admissible as substantive evidence, for publication to the jury,

without any need for defense counsel to establish that they also constituted prior inconsistent

statements of Mr. Auerbach and Coach Franklin.

       Yet, instead of allowing these admissible written communications in evidence, the

Court first required defense counsel to question Mr. Auerbach and Franklin about their

recollection of the contents of the communications. Almost invariably, given that the text

messages and e-mails that had been written 1-2 years earlier, the witness either did not recall

the specific communication or testified that he “possibly” made the statement; counsel then

had to refresh the witnesses’ recollection with the contents of the communications. The Court

repeatedly warned counsel not to refer to communications as texts or e-mails or to read from

the texts or emails. But without quoting the text message or e-mail in defense counsel’s

question, it would have been impractical or impossible for defense counsel to directly impeach

the witness with the written communication itself.          What ensued was a lengthy and

cumbersome process by which defense counsel had to repeatedly refresh the witness’s

recollection about a written communication that itself was admissible but that the jury was not

allowed to see. The evidence that was then put forth before the jury was the witness’s current

oral disjointed recollection of what he might have written 1-2 years earlier instead of the actual

“best evidence” of the communication – the writing itself.

       “The elementary wisdom of the best evidence rule rests on the fact that the
       document is a more reliable, complete and accurate source of information as to
       its contents and meaning than anyone's description....” Gordon v. United States,
       344 U.S. 414, 421, 73 S.Ct. 369, 374, 97 L.Ed. 447 (1953). Thus, pursuant to
       the best evidence rule, this Court finds that the correspondence and other



                                               32
       Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 35 of 40




       documents speak for themselves and therefore the affidavits, to the extent that
       they are submitted to show subjective intent, are neither necessary nor relevant,
       and will therefore be disregarded.

In re Chateaugay Corp., 116 B.R. 887, 905 (Bankr. S.D.N.Y. 1990). To be sure, the Supreme

Court in Gordon wrote as follows:

       The Court of Appeals affirmed on the ground that Marshall's admission, on
       cross-examination, of the implicit contradiction between the documents and his
       testimony removed the need for resort to the statements and the admission was
       all the accused were entitled to demand. We cannot agree. We think that an
       admission that a contradiction is contained in a writing should not bar admission
       of the document itself in evidence, providing it meets all other requirements of
       admissibility and no valid claim of privilege is raised against it. The elementary
       wisdom of the best evidence rule rests on the fact that the document is a more
       reliable, complete and accurate source of information as to its contents and
       meaning than anyone's description and this is no less true as to the extent and
       circumstances of a contradiction. We hold that the accused is entitled to the
       application of that rule, not merely because it will emphasize the contradiction
       to the jury, but because it will best inform them as to the document's impeaching
       weight and significance.

Gordon, supra, 344 U.S. at 420-21.

       Mr. Avenatti’s defense was severely impeded by the exclusion of the text messages and

e-mails. In closing argument, for example, defense counsel was unable to actually display the

excluded exhibits reflecting Coach Franklin’s true intent and desire, as communicated between

him and Mr. Auerbach (and attorney Copeland) over the course of a year. Instead, defense

counsel had to resort to quoting the choppy cross-examination questions and answers about

the witness’s refreshed recollection of the excluded exhibits. There was simply no legal basis

or rationale, rooted in the rules of evidence, for forcing Mr. Avenatti to proceed in that fashion.

       As explained in more detail below, it is clear from the jury’s questions during

deliberations that the jury was keenly focused on the relatively few text messages between

Coach Franklin and Mr. Auerbach that the Court saw fit to admit in evidence. The exclusion




                                                33
       Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 36 of 40




of the many other text messages and e-mails deprived Mr. Avenatti of a fair trial and his right

to present a defense.

       B. The Court Abused its Discretion in its Response to a Jury Note

       Defense counsel’s (Scott Srebnick’s) summation focused heavily on the year-long

communications between Mr. Auerbach and Coach Franklin as evidence of Coach Franklin’s

true objectives vis-à-vis Nike.

       Why are the text messages and the PowerPoint presentation and the
       memorandum to the file that Auerbach drafted of his conversation with John
       Slusher and the Brian Bowen lawsuit that Mr. Auerbach forwarded both to
       Coach Franklin and to Mr. Avenatti, why are those relevant? Why are they not
       a distraction? Because they are the best evidence of what Jeffrey Auerbach and
       Gary Franklin wanted in March of 2019 and what they communicated to Mr.
       Avenatti. Not what they say a year later on the witness stand after multiple
       meetings with the prosecutors, and anybody would be nervous under those
       circumstances. It's what they said at the time to each other, to Mr. Avenatti. It's
       what evidence they showed Mr. Avenatti. That proves what they wanted.

       You heard Mr. Sobelman ask a question of Jeffrey Auerbach: How many text
       messages did you exchange with Gary Franklin during the time period of over
       13 months. He said 2300 text messages. Not a single one offered by the
       government. Not one to suggest that they wanted diplomacy in March of 2019.
       [Objection overruled]. Not a single one to show that they were hoping to keep
       this quiet. Not a single one to suggest that matters weren't urgent for Gary
       Franklin in March of 2019 with no sponsorship. His teams -- the number of his
       teams had dwindled. It was your urgent for him. All of the evidence, all of the
       documentary evidence is to the contrary. Evidence we had to bring out on cross-
       examination. This is not a distraction. It's an extraction, an extraction of the
       truth.

(Tr.2190-92). Defense counsel focused a significant portion of his summation on the four

Auerbach/Franklin text messages that the Court allowed in evidence. (DX FF-1, FF-1A, FF-

911, and MM-02). (E.g., Tr.2207, 2210-14). For example, defense counsel argued that Mr.

Auerbach and Coach Franklin wanted Mr. Avenatti to “light the next fuse” in the Sneaker

Company Scandal and “devise a strategy that goes after Nike” and “expose” Nike’s conduct,




                                               34
       Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 37 of 40




(Tr.2211-13), which proved that they were not interested in diplomacy. Defense counsel also

discussed at length the Auerbach/Franklin communications that they testified about from

recollection (but which were excluded in written form). (E.g., Tr.2229) (“I say we let his first

round of discussions play out his way.”). Defense counsel argued that the Auerbach/Franklin

communications were the best evidence of what they later communicated to Mr. Avenatti,

(Tr.2207), and proved that they authorized Mr. Avenatti to handle the negotiations his way.

(Tr.2229).

       In its instructions to the jury, the Court explained how the jury could consider the text

messages, referenced above, that were admitted for purposes of state of mind.

       From time to time during the trial, I told you that certain evidence could be
       considered only for a limited purpose. Where I gave you such an instruction,
       you may consider that evidence only for the purpose I identified.

       Many exhibits were admitted for purposes of Mr. Avenatti's state of mind.
       Statements and allegations contained in these exhibits cannot be relied on for
       their truth, but only to the extent they shed late on Mr. Avenatti's state of mind
       -- what he was thinking or what he understood at the time. I'll give you some
       examples, and this is not an exhaustive list.

       During Mr. Auerbach's testimony, I instructed you that Government Exhibit 312
       -- Mr. Auerbach's Memorandum of Actions -- was admitted only to the extent
       that it sheds light on Mr. Avenatti's state of mind. Government Exhibit 312 was
       not admitted for the truth of any of the allegations contained in the
       memorandum.

       Other examples are the text messages between Franklin and Auerbach that
       were admitted as Defense Exhibit FF-1, FF-1A, and MM-2. These exhibits
       were admitted to the extent they shed light on Auerbach's and/or Franklin's
       state of mind, because their state of mind could have affected what they
       communicated to Avenatti, and thus affected his state of mind.

       You should be aware that statements, information, thoughts, and desires
       never communicated to or reviewed by Mr. Avenatti could not have affected
       his state of mind.

(Tr.2311-2312) (emphasis added).



                                              35
        Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 38 of 40




        During their deliberations, the jury asked questions that sought further clarity and

elaboration on these instructions. First, on February 12, 2020, the jury asked: “Were text

messages in evidence only for state of mind?” (Court Exh. 2) (Tr.2388). After the Court

answered that question, the jury followed up with another question the following day: “Can

we draw inferences from state-of-mind documents, or only exhibits admitted for evidence?

(Court Exh. 4, Question 1.B) (Tr.2391-2411).              This latter question demonstrated,

unmistakably, that the jury had listened carefully to the defense summation and were focused

on whether they could infer from the text messages that Mr. Auerbach and Coach Franklin

communicated the objectives they discussed in those text messages to Mr. Avenatti – for

example, that they wanted him to be aggressive toward Nike and “really light the next fuse,”

and that they had authorized him to negotiate with Nike as he saw fit.

        The Court answered the latter question by instructing the jury, tautologically, that it

could “draw inferences from exhibits that were admitted to demonstrate state of mind, but only

as to state of mind. Exhibits received without any limitation may be considered by you for all

purposes, including for their truth.     But where I admitted an exhibit for purposes of

demonstrating state of mind, that exhibit can only be considered for purposes of state of mind,

and not for the truth of the statements that were made in that exhibit.” (Tr.2408). The Court

then repeated the same original instructions that prompted the jury’s request for clarity in the

first place.

        The Court abused its discretion by placing strict limitations on the jury’s consideration

of inferences that could be drawn from the text messages. To be clear, Mr. Avenatti was not

seeking to have the jury consider the text messages for their truth. (Tr.2406) (S. Srebnick:




                                               36
       Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 39 of 40




“We're not looking for the jury to draw an inference as to truth from any state-of-mind exhibits.

We're looking for the jury to draw an inference that certain states of mind were communicated

to Mr. Avenatti.”). The Court, however, should have explained to the jury that they were

permitted to infer from a “state of mind” document that the declarant then acted upon the state

of mind and communicated his state of mind to Mr. Avenatti. Instead, the jury was left to

believe that, absent evidence that a particular text message was actually shown to Mr. Avenatti,

they could not infer that Mr. Auerbach and Coach Franklin communicated their stated desires

to him. In United States v. Best, 219 F.3d 192, 198 (2d Cir. 2000), the Second Circuit wrote:

       A declarant's out-of-court statement as to his intent to perform a certain act in
       the future is not excludable on hearsay grounds. See Fed.R.Evid. 803(3) (“[a]
       statement of the declarant's then existing state of mind ... such as intent” is “not
       excluded by the hearsay rule”). If relevant, such a statement may be introduced
       to prove that the declarant thereafter acted in accordance with the stated intent.
       See, e.g., Mutual Life Insurance Co. v. Hillmon, 145 U.S. 285, 295-96, 12 S.Ct.
       909, 36 L.Ed. 706 (1892); see also Fed.R.Evid. 803 Advisory Committee Note
       to Paragraph (3) (1972) (“The rule of Mutual Life Ins. Co. v. Hillmon, 145 U.S.
       285, 12 S.Ct. 909, 36 L.Ed. 706, ... allowing evidence of intention as tending to
       prove the doing of the act intended, is ... left undisturbed.”).

       Thus, for example, from Mr. Auerbach’s text to Coach Franklin that “[w]e will appeal

to their sense of justice and duty” and “the opportunity to really light the next fuse

(Racketeering) in the Sneaker Company Scandal, and answer a BIG question which NIKE will

not want asked, WHY HASN’T THE DOJ INDICT EXECS AT NIKE WHO COMMITTED

THE SAME CRIMES?!! WHY JUST ADIDAS?!,” the jury should have been permitted to

draw the inference that, in fact, Mr. Auerbach did communicate that intent to Mr. Avenatti.

See Def. Exh. FF-1. Similarly, the jury should have been permitted to draw the inference that

Mr. Auerbach and Coach Franklin told Mr. Avenatti to execute their “strategy that goes after

Nike” and “expose[s]” Nike’s conduct. Def. Exh. FF-1.




                                               37
       Case 1:19-cr-00373-PGG Document 291 Filed 03/23/20 Page 40 of 40




       The Court’s response to the jury note improperly restricted the inferences that the jury

should have been permitted to draw. In so doing, the Court abused its discretion. The error

deprived Mr. Avenatti of a fair trial.

                                     IV. CONCLUSION

       For the foregoing reasons, Mr. Avenatti respectfully requests that the Court grant a

judgment of acquittal on all counts. In the alternative, Mr. Avenatti respectfully requests that

the Court grant him a new trial.

                                            Respectfully submitted,

                                            By:    /s/Scott A. Srebnick
                                                   Scott A. Srebnick, P.A.
                                                   201 South Biscayne Boulevard
                                                   Suite 1210
                                                   Miami, FL 33131
                                                   Telephone: (305) 285-9019
                                                   Facsimile: (305) 377-9937
                                                   E-Mail: Scott@srebnicklaw.com




                                              38
